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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       STATE OF CALIFORNIA, et al.,                    Case No. 19-cv-00872-HSG
                                                        Plaintiffs,                        ORDER GRANTING IN PART AND
                                   8
                                                                                           DENYING IN PART PLAINTIFFS’
                                                 v.                                        MOTION FOR PARTIAL SUMMARY
                                   9
                                                                                           JUDGMENT, DENYING
                                  10       DONALD J. TRUMP, et al.,                        DEFENDANTS’ MOTION FOR
                                                                                           PARTIAL SUMMARY JUDGMENT,
                                                        Defendants.                        AND CERTIFYING JUDGMENT FOR
                                  11
                                                                                           APPEAL
                                  12
Northern District of California




                                                                                           Re: Dkt. Nos. 176, 182
 United States District Court




                                  13

                                  14           Pending before the Court are cross-motions for partial summary judgment filed by Plaintiff

                                  15   States California and New Mexico, and Defendants Donald J. Trump, in his official capacity as

                                  16   President of the United States; the U.S. Department of Defense (“DoD”); Mark T. Esper, in his

                                  17   official capacity as Acting Secretary of Defense1; Ryan D. McCarthy, in his official capacity as

                                  18   Acting Secretary of the Army2; Richard V. Spencer, in his official capacity as Secretary of the
                                  19   Navy; Heather Wilson, in her official capacity as Secretary of the Air Force; the U.S. Department

                                  20   of the Treasury; Steven T. Mnuchin, in his official capacity as Secretary of the Department of the

                                  21   Treasury; the U.S. Department of the Interior; David Bernhardt, in his official capacity as

                                  22   Secretary of the Interior3; the U.S. Department of Homeland Security (“DHS”); and Kevin K.

                                  23   McAleenan, in his official capacity as Acting Secretary of Homeland Security,4 briefing for which

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                                       1
                                  25     Acting Secretary Esper is automatically substituted for former Acting Secretary Patrick M.
                                       Shanaham. See Fed. R. Civ. P. 25(d).
                                       2
                                  26     Acting Secretary McCarthy is automatically substituted for former Secretary Esper. See Fed. R.
                                       Civ. P. 25(d).
                                       3
                                  27     Secretary Bernhardt was named in his then-capacity as Acting Secretary, but was subsequently
                                       confirmed as Secretary by the U.S. Senate on April 11, 2019.
                                       4
                                  28     Acting Secretary McAleenan is automatically substituted for former Secretary Kirstjen M.
                                       Nielsen. See Fed. R. Civ. P. 25(d).
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                                   1   is complete. Dkt. Nos. 176 (“Pls.’ Mot.”), 182 (“Defs.’ Mot.”), 183 (“Pls.’ Reply”). The only

                                   2   issue presently before the Court concerns Defendants’ intended reprogramming of funds under

                                   3   Sections 8005 and 9002 of the Department of Defense Appropriations Act, 2019, Pub. L. No. 115-

                                   4   245, 132 Stat. 2981 (2018), and subsequent use of such funds under 10 U.S.C. § 284 (“Section

                                   5   284”) for border barrier construction.5

                                   6          After carefully considering the parties’ arguments, the Court GRANTS IN PART and

                                   7   DENIES IN PART Plaintiffs’ motion, and DENIES Defendants’ motion.6 The Court also

                                   8   certifies this judgment for immediate appeal pursuant to Rule 54(b) of the Federal Rules of Civil

                                   9   Procedure.

                                  10   I.     LEGAL STANDARD
                                  11          Summary judgment is proper when a “movant shows that there is no genuine dispute as to

                                  12   any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).
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                                  13   A fact is “material” if it “might affect the outcome of the suit under the governing law.” Anderson

                                  14   v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). And a dispute is “genuine” if there is evidence

                                  15   in the record sufficient for a reasonable trier of fact to decide in favor of the nonmoving party. Id.

                                  16   But in deciding if a dispute is genuine, the court must view the inferences reasonably drawn from

                                  17   the materials in the record in the light most favorable to the nonmoving party, Matsushita Elec.

                                  18   Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587–88 (1986), and “may not weigh the evidence

                                  19   or make credibility determinations,” Freeman v. Arpaio, 125 F.3d 732, 735 (9th Cir. 1997),

                                  20   overruled on other grounds by Shakur v. Schriro, 514 F.3d 878, 884–85 (9th Cir. 2008). If a court

                                  21   finds that there is no genuine dispute of material fact as to only a single claim or defense or as to

                                  22   part of a claim or defense, it may enter partial summary judgment. Fed. R. Civ. P. 56(a).

                                  23          The parties agree that the issue presently before the Court is properly resolved on their

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                                       5
                                         The relevant background for this motion is essentially unchanged since the Court’s preliminary
                                       injunction orders in this and the related case, Sierra Club v. Trump, No. 4:19-cv-00892-HSG
                                  26   (N.D. Cal.). The Court thus incorporates in full here the factual background and statutory
                                       framework as set forth in the preliminary injunction order in the related case. See Order, Sierra
                                  27   Club v. Trump, No. 4:19-cv-00892-HSG (N.D. Cal. May 24, 2019), ECF No. 144.
                                       6
                                         In light of the extended oral argument regarding these issues at the preliminary injunction
                                  28   hearing, see Dkt. No. 159, the Court finds these matters appropriate for disposition without oral
                                       argument and the matters are deemed submitted, see Civil L.R. 7-1(b).
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                                   1   cross-motions for partial summary judgment. Pls.’ Mot. at 9; Defs.’ Mot. at 9.

                                   2   II.    DISCUSSION
                                   3          In their motion, Plaintiffs request that the Court (1) enter final judgment in their favor

                                   4   declaring unlawful Defendants’ transfer of Fiscal Year 2019 appropriated funds to the DoD’s

                                   5   Section 284 account and those funds’ subsequent use for border barrier construction; and (2)

                                   6   enjoin such unlawful use of funds. Pls.’ Mot. at 1. Defendants’ motion seeks a final

                                   7   determination that their intended use of funds under Sections 8005, 9002, and 284 for border

                                   8   barrier construction is lawful. Defs.’ Mot. at 2. Defendants also request that the Court certify this

                                   9   judgment for appeal under Rule 54(b). Id. at 24–25.

                                  10          A.      Declaratory Relief
                                  11          Plaintiffs seek a declaratory judgment finding unlawful Defendants’ (1) reprogramming of

                                  12   funds under Sections 8005 and 9002, and (2) use of those funds for border barrier construction
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                                  13   under Section 284. See Pls.’ Mot. at 1. Plaintiffs contend that Defendants’ actions “(1) are ultra

                                  14   vires; (2) violate the United States Constitution’s separation of powers principles, including the

                                  15   Appropriations and Presentment Clauses; and (3) violate the Administrative Procedure Act

                                  16   (APA).” Id.

                                  17          Starting with Section 8005, the Court previously held that Plaintiffs were likely to succeed

                                  18   on their arguments that Defendants’ intended reprogramming of funds under Section 8005 to the

                                  19   Section 284 account to fund border barrier construction in El Paso Sector 1 is unlawful. In

                                  20   particular, the Court found that Plaintiffs were likely to show that (1) the item for which funds are

                                  21   requested has been denied by Congress; (2) the transfer is not based on “unforeseen military

                                  22   requirements”; and (3) accepting Defendants’ proposed interpretation of Section 8005’s

                                  23   requirements would raise serious constitutional questions.7 Dkt. No. 165 (“PI Order”) at 13–24.

                                  24          The Court previously only considered Defendants’ reprogramming and subsequent use of

                                  25   funds for border barrier construction for El Paso Sector Project 1. It did not consider Defendants’

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                                       7
                                         The Court did not consider whether Defendants’ reprogramming of funds was for a “higher
                                       priority item”—an independently necessary requirement under Section 8005—because
                                  28   Defendants’ planned use of such reprogrammed funds failed multiple other Section 8005
                                       requirements. The Court similarly does not consider the “higher priority item” requirement here.
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                                   1   more-recently announced reprogramming and subsequent diversion of funds for border barrier

                                   2   construction for the El Centro Sector Project, pending further development of the record as to this

                                   3   project. See id. at 13 n.9. To fund this project, Defendants again invoked Section 8005, as well as

                                   4   DoD’s “special transfer authority under section 9002 of the Department of Defense Appropriations

                                   5   Act, 2019, and section 1512 of the John S. McCain National Defense Authorization Act for Fiscal

                                   6   Year 2019.” See Dkt. No. 118-1 (“Rapuano Second Decl.”) ¶ 7. Defendants’ Section 9002

                                   7   authority, however, is subject to Section 8005’s limitations. See Department of Defense

                                   8   Appropriations Act, 2019, Pub. L. No. 115-245, § 9002, 132 Stat. 2981, 3042 (2018) (providing

                                   9   that “the authority provided in this section is in addition to any other transfer authority available to

                                  10   the Department of Defense and is subject to the same terms and conditions as the authority

                                  11   provided in section 8005 of this Act”); see also Defs.’ Mot. at 9 n.3 (acknowledging that Section

                                  12   9002 is subject to Section 8005’s requirements). Because Defendants agree that all such authority
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                                  13   is subject to Section 8005’s substantive requirements, the Court refers to these requirements

                                  14   collectively by reference to Section 8005.

                                  15          In their pending motion, “Defendants acknowledge that the Court previously rejected

                                  16   [their] arguments about the proper interpretation of § 8005 in its [preliminary injunction order].”

                                  17   Defs.’ Mot. at 9. Defendants contend that the Court’s findings were wrong for two reasons: (1)

                                  18   “Plaintiffs fall outside the zone of interests of § 8005 and thus cannot sue to enforce it”; and (2)

                                  19   “DoD has satisfied the requirements set forth in § 8005.” Id. at 9–12. But Defendants here offer

                                  20   no evidence or argument that was not already considered in the Court’s preliminary injunction

                                  21   order. For example, Defendants continue to argue that under Lexmark International, Inc. v. Static

                                  22   Control Components, Inc., 572 U.S. 118 (2014), the zone-of-interests test applies to Plaintiffs’

                                  23   claims. Compare Opp. at 9–10, with Dkt. No. 89 at 18–19. And the Court continues to find that

                                  24   the test has no application in an ultra vires challenge, which operates outside of the APA

                                  25   framework, and the Court incorporates here its prior reasoning on this point. PI Order at 11–12.

                                  26          Defendants also continue to assert that DoD did not transfer funds for an item previously

                                  27   denied by Congress and that the transfer was for an “unforeseen” requirement. Compare Opp. at

                                  28   10–11, with Dkt. No. 89 at 19–20. But Defendants again present no new evidence or argument for
                                                                                          4
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                                   1   why the Court should depart from its prior decision, and it will not. The Court thus stands by its

                                   2   prior finding that Defendants’ proposed interpretation of the statute is unreasonable, and agrees

                                   3   with Plaintiffs that Defendants’ intended reprogramming of funds under Section 8005—and

                                   4   necessarily under Section 9002 as well—to the Section 284 account for border barrier construction

                                   5   is unlawful. See PI Order at 13–24. Because no new factual or legal arguments persuade the

                                   6   Court that its analysis in the preliminary injunction order was wrong, Plaintiffs’ likelihood of

                                   7   success on the merits has ripened into actual success. The Court accordingly GRANTS Plaintiffs’

                                   8   request for declaratory judgment that such use of funds reprogrammed under Sections 8005 and

                                   9   9002 for El Paso Sector Project 1 and El Centro Sector Project is unlawful.8

                                  10          Turning to Section 284, the Court finds that it need not determine whether Plaintiffs are

                                  11   entitled to declaratory judgment that Defendants’ invocation of Section 284 is also unlawful.

                                  12   When a party requests declaratory judgment, “the question in each case is whether the facts
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                                  13   alleged, under all the circumstances, show that there is a substantial controversy, between parties

                                  14   having adverse legal interests, of sufficient immediacy and reality to warrant the issuance of a

                                  15   declaratory judgment.” Md. Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270, 273 (1941). Having

                                  16   determined that Defendants’ proposed reprogramming of funds under Sections 8005 and 9002 is

                                  17   unlawful, no immediate adverse legal interests warrant a declaratory judgment concerning Section

                                  18   284. Defendants acknowledge that all of the money they plan to spend on border barrier

                                  19   construction under Section 284 is money transferred into the relevant account under Sections 8005

                                  20   and 9002. See Dkt. No. 151 at 4. Given this acknowledgment, the Court’s ruling as to Sections

                                  21   8005 and 9002 obviates the need to independently assess the lawfulness of Defendants’ invocation

                                  22   of Section 284.

                                  23   //

                                  24   //

                                  25

                                  26   8
                                         Plaintiffs’ motion seeks a declaratory judgment that any use of reprogrammed funds for border
                                  27   barrier construction is unlawful as (1) ultra vires; (2) unconstitutional, and (3) in violation of the
                                       APA. Given that the Court determines Defendants’ use of such funds is ultra vires, which
                                  28   resolves Plaintiffs’ claim concerning such use of funds, the Court declines to issue a broader
                                       declaratory judgment.
                                                                                          5
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                                   1          B.      INJUNCTIVE RELIEF

                                   2          It is a well-established principle of equity that a permanent injunction is appropriate when:

                                   3   (1) a plaintiff will “suffer[] an irreparable injury” absent an injunction; (2) available remedies at

                                   4   law are “inadequate;” (3) the “balance of hardships” between the parties supports an equitable

                                   5   remedy; and (4) the public interest is “not disserved.” eBay Inc. v. MercExchange, LLC, 547 U.S.

                                   6   388, 391 (2006). Defendants do not dispute that available remedies at law are inadequate. The

                                   7   Court thus need only consider the remaining factors. But because the Court finds that Plaintiffs

                                   8   have not established irreparable injury—an independently necessary burden for Plaintiffs—the

                                   9   Court does not consider the balance of hardships and public interest factors.

                                  10          Plaintiffs present two theories of irreparable injury: (1) that California and New Mexico

                                  11   will be irreparably harmed by their inability to enforce state laws concerning the protection of

                                  12   environmental and natural resources; and (2) that border barrier construction will harm California
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                                  13   and New Mexico’s animals and plants. See Pls.’ Mot. at 19–24.

                                  14          The Court begins with Plaintiffs’ second theory. With respect to the El Centro Sector

                                  15   Project, California contends that border barrier construction will threaten various animal and plant

                                  16   species. Pls.’ Mot. at 21–22. Of particular concern to California is that construction in this sector

                                  17   potentially could hinder the migration of Peninsular bighorn sheep across the southern border and

                                  18   that pregnant ewes might be scared away by construction activities. Id. But Plaintiffs’ supporting

                                  19   declarations do not indicate that Defendants’ challenged action poses the requisite “threat of future

                                  20   demonstrable harm to a protected species.” See PI Order at 31. To start, Plaintiffs only contend

                                  21   that Peninsular bighorn sheep have crossed the southern border “west of the project area,” and that

                                  22   pregnant ewe populations may seek a critical area “adjacent” to the project site. Pls’ Mot. at 21–

                                  23   22. In other words, Plaintiffs do not even allege that the protected species crosses the southern

                                  24   border where the challenged construction would occur. Finally, as to the potential disturbance

                                  25   caused by construction activities, Plaintiffs only allege that pregnant ewes may be “adversely

                                  26   affected.” Id. But reference to a tenuous adverse effect is insufficient to explain why temporary

                                  27   construction would pose a threat of demonstrable harm to the species. All told, California has

                                  28   failed to carry its burden of presenting evidence that the challenged action would pose a threat of
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                                   1   future demonstrable harm to the Peninsular bighorn sheep.9

                                   2          New Mexico similarly fails to prove a threat of future demonstrable harm. With respect to

                                   3   the El Paso Sector Project, New Mexico primarily contends that construction might hamper

                                   4   repopulation efforts of the Mexican wolf because genetic interchange benefits the species. See

                                   5   Pls.’ Mot. at 23–24. As an initial matter, the Court has some doubt that New Mexico’s purported

                                   6   interest in the international travels of a few animals between its state and another sovereign nation

                                   7   could ever justify a permanent injunction against the U.S. government. But even setting that

                                   8   aside, New Mexico only identifies two instances of Mexican wolves crossing the border, one of

                                   9   which returned to Mexico, and neither of which Plaintiffs contend are known to have bred with

                                  10   Mexican wolves on the other side of the border. Id. at 23. New Mexico’s speculation that a

                                  11   border barrier might prevent interbreeding, which might hamper genetic diversity, which might

                                  12   render Mexican wolves more susceptible to diseases falls far short of the necessary demonstrable
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                                  13   evidence of harm to a protected species, and thus does not entitle New Mexico to a permanent

                                  14   injunction.10

                                  15          Turning to Plaintiffs’ first theory, the crux of the parties’ dispute concerns whether

                                  16   Defendants’ issuance of IIRIRA waivers related to the challenged border barrier construction

                                  17   projects nullifies the States’ interest in enforcing their laws concerning the protection of the

                                  18   environment. Defendants contend that California and New Mexico cannot establish irreparable

                                  19   injury to their enforcement of state laws because the IIRIRA waivers set aside all such legal

                                  20   requirements, such that California and New Mexico lack a legal interest capable of being

                                  21   irreparably harmed. See Defs.’ Mot. at 19–20; see also Determination Pursuant to Section 102 of

                                  22   the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, as Amended, 84 Fed.

                                  23   Reg. 17,185-01 (Apr. 24, 2019) (waiving state laws related to the El Paso Sector Project);

                                  24

                                  25   9
                                         California’s other purported harms to its wildlife are similarly unavailing. It is not enough, for
                                  26   example, for California to argue that construction could possibly disrupt plant life or harm Flat-
                                       tailed horned lizards and burrowing owls, especially when Defendants present evidence that
                                  27   relevant agencies regularly implement mitigation measures that successfully prevent such harm.
                                       See Defs.’ Mot. at 21–22.
                                  28
                                       10
                                          New Mexico’s purported harm to other wildlife from construction activity fails for the same
                                       reasons that California’s similar allegations fail. See supra note 9.
                                                                                           7
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                                   1   Determination Pursuant to Section 102 of the Illegal Immigration Reform and Immigrant

                                   2   Responsibility Act of 1996, as Amended, 84 Fed. Reg. 21,800 (May 15, 2019) (waiving state laws

                                   3   related to the El Centro Sector Project); REAL ID Act of 2005, Pub. L. No. 109-13, § 102, 119

                                   4   Stat. 231, 306 (May 11, 2005) (amending Section 102(c) to reflect that the Secretary “ha[s] the

                                   5   authority to waive all legal requirements” that, in the “Secretary’s sole discretion,” are “necessary

                                   6   to ensure expeditious construction” of barriers and roads). Plaintiffs counter that the waivers’

                                   7   effectiveness depends on Defendants first having authority to use funds in a certain manner. See

                                   8   Pls.’ Reply at 12–13. As Plaintiffs put it, “without the funds to proceed with construction, [an]

                                   9   IIRIRA waiver is meaningless.” Id. at 12.

                                  10          Whether the relevant waivers deprive states of their sovereign interests in enforcing state

                                  11   laws for purposes of an irreparable injury analysis, or merely deprive states of their ability to bring

                                  12   suit to vindicate those interests, is unclear as a legal matter. The Court need not resolve this issue,
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                                  13   however, because whether or not the border barrier construction at issue in this order could harm

                                  14   California and New Mexico’s sovereign interests, the contested use of funds for such construction

                                  15   will not occur in the absence of injunctive relief. This is because the Court has permanently

                                  16   enjoined the relevant Defendants in the related action from proceeding with such construction.

                                  17   See Order at 10, Sierra Club v. Trump, No. 4:19-cv-00892-HSG (N.D. Cal. June 28, 2019), ECF

                                  18   No. 185 (permanently enjoining the use of reprogrammed funds for border barrier construction for

                                  19   El Paso Sector Project 1 and the El Centro Sector Project). Accordingly, no irreparable harm to

                                  20   California and New Mexico will result from the denial (without prejudice) of their duplicative

                                  21   requested injunction.

                                  22          C.       Certification for Appeal
                                  23          Finally, Defendants request that the Court certify this judgment for appeal under Rule

                                  24   54(b). Appellate courts generally only have jurisdiction to hear appeals from final orders. See 28

                                  25   U.S.C. § 1291. Rule 54(b) allows for a narrow exception to this final judgment rule, permitting

                                  26   courts to “direct entry of a final judgment as to one or more, but fewer than all, claims or parties

                                  27   only if the court expressly determines that there is no just reason for delay.” Entry of judgment

                                  28   under Rule 54(b) thus requires: (1) a final judgment; and (2) a determination that there is no just
                                                                                          8
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                                   1   reason for delay of entry. See Pakootas v. Teck Cominco Metals, Ltd., 905 F.3d 565, 574 (9th Cir.

                                   2   2018) (quoting Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 7–8 (1980)).

                                   3                  1.      Finality of Judgment
                                   4          A final judgment is “a decision upon a cognizable claim for relief” that is “an ultimate

                                   5   disposition of an individual claim entered in the course of a multiple claims action.” Curtiss-

                                   6   Wright Corp., 446 U.S. at 7 (citing Sears, Roebuck & Co. v. Mackey, 351 U.S. 427 (1956)). The

                                   7   Court finds this requirement satisfied because the Court’s award of partial summary judgment in

                                   8   this order is “an ultimate disposition” of Plaintiffs’ claims related to Defendants’ purported

                                   9   reliance on Sections 8005, 9002, and 284 for border barrier construction.

                                  10                  2.      No Just Reason for Delay
                                  11          As the Ninth Circuit has explained, “[j]udgments under Rule 54(b) must be reserved for

                                  12   the unusual case in which the costs and risks of multiplying the number of proceedings and of
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                                  13   overcrowding the appellate docket are outbalanced by pressing needs of the litigants for an early

                                  14   and separate judgment as to some claims or parties.” Morrison-Knudsen Co. v. Archer, 655 F.2d

                                  15   962, 965 (9th Cir. 1981). Accordingly, an explanation of findings “should include a determination

                                  16   whether, upon any review of the judgment entered under the rule, the appellate court will be

                                  17   required to address legal or factual issues that are similar to those contained in the claims still

                                  18   pending before the trial court.” Id. at 965. “The greater the overlap the greater the chance that

                                  19   [the Court of Appeals] will have to revisit the same facts—spun only slightly differently—in a

                                  20   successive appeal.” Wood v. GCC Bend, LLC, 422 F.3d 873, 882 (9th Cir. 2005). “[P]lainly,

                                  21   sound judicial administration does not require that Rule 54(b) requests be granted routinely.” Id.

                                  22   at 879 (internal quotation marks omitted).

                                  23          The Court finds there is no just reason for delay under the circumstances. In their motion,

                                  24   Defendants contend that “[t]he legal and factual issues do not ‘intersect and overlap’ with the

                                  25   outstanding claims in this case, which focus on separate statutory authorities, and final judgment

                                  26   on these claims will not result in piecemeal appeals on the same sets of facts.” Defs.’ Mot. at 25.

                                  27   The Court agrees. Whether Defendants’ actions comport with the statutory requirements of

                                  28   Sections 8005 and 9002 and whether Defendants’ actions comport with the remaining statutory
                                                                                          9
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                                   1   requirements related to outstanding claims are distinct inquiries, largely based on distinct law.

                                   2   The Court also recognizes that Defendants’ appeal of the Court’s preliminary injunction order in

                                   3   the related case, Sierra Club v. Trump, is currently pending before the Court of Appeals, which

                                   4   recently issued an order holding the briefing on that appeal in abeyance pending partial summary

                                   5   judgment orders. See Sierra Club v. Trump, No. 19-16102 (9th Cir. 2019), ECF Nos. 65–66. This

                                   6   suggests to the Court that the Court of Appeals agrees that “sound judicial administration” is best

                                   7   served by the Court certifying this judgment for appeal, in light of the undisputedly significant

                                   8   interests at stake in this case. See Wood, 422 F.3d at 879.

                                   9   III.   CONCLUSION
                                  10          For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART

                                  11   Plaintiffs’ motion for partial summary judgment and DENIES Defendants’ motion for partial

                                  12   summary judgment. Specifically, the Court GRANTS Plaintiffs’ request for declaratory judgment
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                                  13   that Defendants’ intended use of funds reprogrammed under Sections 8005 and 9002 of the

                                  14   Department of Defense Appropriations Act, 2019, for border barrier construction in El Paso Sector

                                  15   1 and El Centro Sector is unlawful. The Court DENIES Plaintiffs’ requests for (1) any broader

                                  16   declaratory judgment, and (2) a permanent injunction.

                                  17          The Clerk is directed to enter final judgment in favor of Plaintiffs and against Defendants

                                  18   with respect to Defendants’ purported reliance on Sections 8005, 9002, and 284 to fund border

                                  19   barrier construction. This judgment will be certified for immediate appeal pursuant to Rule 54(b)

                                  20   of the Federal Rules of Civil Procedure.

                                  21          IT IS SO ORDERED.

                                  22   Dated: 6/28/2019

                                  23

                                  24
                                                                                                     HAYWOOD S. GILLIAM, JR.
                                  25                                                                 United States District Judge
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